     Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 1 of 35




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION

WILLIAM A. LINK, et al.,

     Plaintiffs,                              Case No. 4:21-cv-00271-MW-MAF

      v.

RICHARD CORCORAN, in his official
capacity as the Florida Commissioner of
Education, et al.,

     Defendants.

       PLAINTIFFS’ EMERGENCY MOTION FOR TEMPORARY
     RESTRAINING ORDER OR PRELIMINARY INJUNCTION AND
          INCORPORATED MEMORANDUM IN SUPPORT

      Pursuant to Rule 65, Plaintiffs seek a temporary restraining order (“TRO”) or

preliminary injunction prohibiting Defendants from: (1) distributing the Surveys

required by Fla. Stat. §§ 1001.03(19)(b) and 1001.706(13)(b) to faculty, staff, or

students; (2) collecting or storing any responses to the Surveys; (3) reporting,

releasing, or making public any data received from responses to the Surveys; and (4)

taking any action based on data received from responses to the Surveys. In support,

Plaintiffs state as follows:

                               EMERGENCY STATUS

      Plaintiffs seek emergency injunctive relief under L.R. 7.1(L) because

irreparable harm will occur within nine days, when Defendants and related actors
        Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 2 of 35




disseminate the Survey required by House Bill 233 (“HB 233”). For months,

Plaintiffs have sought and expected Defendants would supplement their discovery

responses to produce draft updates, a final version of the Survey, and their plans to

implement the Survey, to no avail. See Declaration of Alexi Velez, Ex. 1 at 11, 22,

24, 27, 31, 37, 91, 415.1

         Then, late this week, from another source, Plaintiffs received the following

schedule for implementation of the Survey:

    March 31, 2022          Send pre-survey notifications to students and employees.
    April 4, 2022           Invitations to students and employees are sent to take the
                            survey.
    April 7, 2022           Survey reminders are sent to students and employees.
    April 8, 2022           Survey collection closes.

Declaration of Andrew Gothard, Ex. 2 at ¶ 3. Around the same time, Plaintiffs

received versions of the Surveys titled “final” with metadata indicating they were

created in March 2022 from public records requests (“PRRs”) to Florida State

University (“FSU”), engaged by Defendants to draft the Survey.

         When Plaintiffs asked Defendants’ counsel if this schedule was accurate and

if the surveys FSU titled “final” were final, he responded they were not, but did not

provide any information about what the final surveys will contain. Ex. 1 at 415.

Counsel did not deny that the schedule was accurate (indeed, he indicated Plaintiffs’

counsel was “naive” for not anticipating it). Id.

1
    Exhibit pincites reference the exhibit’s ECF page number.

                                            2
     Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 3 of 35




      Given the above expedited schedule—since confirmed by others—Plaintiffs

require emergency relief. The expedited Survey distribution—of which Defendants

failed to timely advise Plaintiffs—as well as Defendants’ continued failure to

provide Plaintiffs with any information about the final Survey (or any materials

related to it since November), does not permit this matter to be resolved in the

ordinary course—nor, unfortunately, with the benefit of the final Surveys that

Defendants apparently intend to implement nine days from now.

                                    *      *      *

                    INTRODUCTION AND BACKGROUND

      Plaintiffs include a faculty union representing more than 25,000 members at

twelve state universities and fifteen state and community colleges across Florida

(United Faculty of Florida or “UFF”), a youth-focused gun violence prevention

organization (March for Our Lives Action Fund or “MFOL”), and eight individuals

who are current faculty or students at six of Florida’s public colleges or universities.

      At issue are Plaintiffs’ challenges to HB 233’s Survey Provisions,2 which

Plaintiffs allege violate the First Amendment on several independent grounds: (a)

unconstitutional viewpoint discrimination, adopted because of the government’s

disagreement with certain speech, and they empower the government to punish


2
  Reference to the Survey Provisions include the Survey created and mandated by
those Provisions.

                                           3
     Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 4 of 35




disfavored speech; (b) they pry into Plaintiffs’ privately-held beliefs and political

associations without being tailored to a sufficiently weighty governmental purpose,

and (c) they implicitly threaten Plaintiffs and the institutions where they work and

study based on that invasive and unjustifiable inquiry, with retribution from the

government and harassment. See generally Am. Compl., ECF No. 35.

      The Survey Provisions mandate that the Defendant Board of Governors and

Board of Education (“Boards”) “require each [public] Florida [college or university]

to conduct an annual assessment of the intellectual freedom and viewpoint diversity

at that institution.” Fla. Stat. §§ 1001.03(19)(b), 1001.706(13)(b). The Boards must

“compile and publish the assessments by September 1 of each year,” beginning in

2022. Fla. Stat. §§ 1001.03(19)(b), 1001.706(13)(b). There are no statutory

restrictions on how the information—or the “assessments” of that information—may

be accessed or used. See Fla. Stat. §§ 1001.03(19)(a)(1), 1001.706(13)(a)(1).

      Lest there be any doubt that the Survey is intended to inquire into privately-

held beliefs, HB 233 defines “intellectual freedom and viewpoint diversity” to

“mean[] the exposure of students, faculty, and staff to, and the encouragement of

their exploration of, a variety of ideological and political perspectives.” Fla. Stat.

§§ 1001.03(19)(a)1), 1001.706(13)(a)1 (emphasis added). The law’s proponents

made no secret that HB 233 is part of their “war” against the “radical left,” in which

the government is set on punishing schools and faculty perceived as promoting


                                          4
     Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 5 of 35




liberal viewpoints. See, e.g., Ex. 1 at 93. (Gov. DeSantis declaring tax dollars will

not be used “moving forward” to support the “indoctrinat[ion]” of students at

universities that have become “hotbeds for stale ideology”); Ex. 1 at 548 (Rep.

Sabatini, who co-sponsored the bill, describing the Survey as a tool for “defunding

the radical institutions” on campuses that “we’ve lost . . . to the radical left” and

“defunding these insane professors that hate conservatives and hate this country”).3

And materials obtained from FSU show that the survey drafters were instructed that

their purpose was to address “increasing concerns that university instructors, who

are, on average, very liberal, instill and perhaps require their student to provide a

particular political viewpoint.” Ex. 1 at 203.

      The incendiary narrative that faculty are “indoctrinating” students to adopt

left-leaning political viewpoints has long been pushed by right-wing actors, but

study after study has disproved these claims. In fact, studies that refute the premise

underlying the Survey were among the materials FSU produced in response to

Plaintiffs’ PRRs. See, e.g., Ex. 1 at 115 (peer-reviewed study “[finding] no evidence

to suggest that faculty members push their own personal political viewpoints in the



3
  For more evidence of the State’s hostility toward “left-leaning” viewpoints, see
also Ex. 1 at 94 (Commissioner Corcoran bragging he has “censored or fired or
terminated numerous teachers” for “indoctrinat[ing] students” with left-leaning
viewpoints); Ex. 1 at 95 (trustee implying she was appointed by Governor to serve
as a check on faculty ideology in tenure and other promotions).

                                          5
     Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 6 of 35




classroom”); Ex. 1 at 138 (report on survey results at UNC Chapel Hill finding,

“[f]or the most part, students who identify as liberal, moderate, and conservative all

agree that instructors encourage participation from across the political spectrum”).4

Nevertheless, the Legislature and Governor insist that Florida’s college campuses

are hotbeds of liberal indoctrination, and the Survey Provisions appear designed to

create “evidence” to support that narrative. See Ex. 1 at 93, 94, 95, 548; cf. also Ex.

4 at ¶¶ 7, 12, 15; Ex. 2 at ¶ 5; Declaration of Robin Goodman, Ex. 3 at ¶ 7.

      Shortly after Plaintiffs filed suit, Defendants moved to dismiss, arguing that

the matter was not ripe and Plaintiffs had no injury because “the survey has yet to

be developed.” ECF No. 40 at 10, 18-21. This argument ignores significant

precedent establishing that (1) the state may not mandate inquiries into its citizens’

ideological and political views unless it can meet exacting scrutiny, and (2) a First

Amendment injury arises when state laws trigger a concrete and objective risk of

enforcement that chills protected activity. See ECF No. 43 at 26-37; see also Baird

v. State Bar of Arizona, 401 U.S. 1, 6 (1971) (“[W]hen a State attempts to make

inquiries about a person’s beliefs or associations, its power is limited by the First


4
 Other studies come to the same conclusion. See, e.g., Ex. 1 at 227 (peer-reviewed
study concluding that, “there is a tendency for students to drift toward the
Democratic Party over the course of the semester, yet the direction of the shift
appears to be unrelated to either the instructor’s actual political loyalties, or to the
student’s perception of the professor’s partisan preferences”); see also Ex. 4,
Declaration of Dr. Sylvia Hurtado at ¶ 14.

                                           6
     Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 7 of 35




Amendment.”).

      Nevertheless, Plaintiffs have diligently pursued discovery as to the creation,

drafting, and plans to implement the Survey. Yet, as of this filing, the most recent

draft Survey Defendants produced appears to be from November 2021. See Ex. 1 at

453. Plaintiffs’ counsel repeatedly requested Defendants supplement their

production to provide more recent drafts and plans for the Survey’s timing and

administration, in communications with defense counsel dated December 16, 2021,

January 4, 2022, January 13, 2022, February 18, 2022, March 3, 2022, March 8,

2022, March 11, 2022, and most recently March 17, 2022. See Ex. 1 at 22, 24, 27,

31, 37. Repeatedly, defense counsel waffled between suggesting that more

documents were coming, and that nothing further had come because documents did

not exist. See, e.g., Ex. 1 at 32 (On January 13, defense counsel stated: “The records

are being gathered, but I don’t have an indication as to how many there are.”); see

also Ex. 1 at 37 (On March 11, defense counsel stated: “We ran the searches on the

same terms and the same custodians as the initial production. If there are documents

that we missed in that review, we will produce them as a supplement.”); see also Ex.

1 at 13 (On March 17, defense counsel stated: “Obviously, we can’t give you

document [sic] that doesn’t yet exist.”). Even now, when implementation of the

Survey apparently is only nine days away, Defendants have yet to provide any

updated drafts, much less the final Surveys.


                                          7
     Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 8 of 35




      As of just three days ago, defense counsel was still claiming that, “As far as I

know, the surveys are still a work in progress,” and while he said that he “received

word this afternoon that the student survey is presently targeted to be distributed by

the Board of Governors to the universities on April 4,” he also stated “I don’t know

when the staff survey will be distributed to the universities”, “and these dates are not

set in stone.” Ex. 1 at 11. Even then, no additional documents or specific information

came from Defendants, despite Plaintiffs’ repeated requests for supplementation of

discovery on this precise matter. See Ex. 1 at 22, 24, 27, 31, 37.

      During this time frame, Plaintiffs pursued information related to the Survey

through PRRs to FSU and, in February, received several more recent Survey drafts

that Defendants had not produced to Plaintiffs. See, e.g., Ex. 1 at 442 (document

with filename “FLBOG Staff Survey Dec 7.docx”). Plaintiffs promptly produced

these materials to Defendants. See Ex. 1 at 450. Yet, even then, Defendants

continued to indicate they had nothing more recent to produce. See, e.g., Ex. 1 at 15.

At the same time, Defendants’ counsel would periodically provide vague—and ever

moving—target dates for the final Survey. See id. (On March 11, stating: “I have

been informed that the surveys should go out at the end of this month”). During this

time, Plaintiffs repeatedly conferred with defense counsel to ensure the Survey

would be disclosed in advance of the expert disclosure deadline, and sought (and

obtained) adjustment of that deadline based on defense counsel’s updates about


                                           8
     Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 9 of 35




when the Surveys would be available. See Ex. 1 at 12-13; see also ECF No. 64 at 2,

5.

      On March 22, 2022, the day before defense counsel first advised Plaintiffs of

a specific “target date” for the student Surveys (albeit at the same time still claiming

the surveys were not yet done, and that it was unknown when the faculty surveys

might issue), Ex. 1 at 11, FSU provided Plaintiffs a second production of 133

documents, including ones titled “FLBOG Faculty Survey (FINAL DRAFT).docx”

and “FLBOG Student Survey (FINAL DRAFT).docx.” Ex. 1 at 44, 53. Metadata

indicates these documents were created and last edited on March 15, 2022.

      Two days later, on March 24, and since confirmed with members at multiple

institutions, Plaintiff UFF learned that there is a schedule in place for the

administration of all of the Surveys. Ex. 2 at ¶ 3. That is the schedule reproduced

above, which has the Survey period opening nine days from now on April 4 and then

quickly closing on April 8. See id.

      Plaintiffs immediately notified defense counsel again they had learned of this

schedule and demanded that Defendants supplement their discovery responses with

any and all related materials by no later than March 29, 2022. See Ex. 1 at 91.

Plaintiffs followed that shortly with another message attaching the surveys FSU

titled as “final” and asking for confirmation that they were the final surveys. Ex. 1

at 416. Defense counsel responded that the surveys that were marked final by FSU


                                           9
     Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 10 of 35




were not final, but did not provide any further information about what the final

surveys will include. Id. at 1. He did not deny that Defendants’ plan is to implement

those still undisclosed surveys nine days from today. Id.

                                    ARGUMENT

      Allowing Defendants to implement the Survey on this timeline, much less

without providing any discovery related to it since November 2021—including the

final Surveys they plan to implement in nine days—threatens irreparable harm to

Plaintiffs’ First Amendment rights. See Ex. 2 at ¶¶ 3-4, 10-12 (Defendants’ secrecy

and timing makes it impossible for UFF to timely assess, or its members time to

consider how to respond to, and whether to participate in, the Survey). Plaintiffs

satisfy all standards for a preliminary injunction: they are highly likely to succeed

on their challenges to the Survey Provisions; they will suffer irreparable harm absent

emergency relief; no harm will befall Defendants should the Court issue relief; and

the public interest strongly favors emergency relief. At the very least, a TRO will

preserve the status quo and allow the Court sufficient time to consider whether to

enter a preliminary injunction prohibiting the implementation of the Survey until this

matter can be resolved at trial.5

5
 Plaintiffs filed this motion as quickly as possible, upon learning of the schedule
and the possibility that FSU had “final” surveys in hand. Plaintiffs have established
grounds for issuing a TRO or preliminary injunction. That said, the Court would be
well within its power to grant a TRO and order a briefing schedule to consider


                                         10
    Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 11 of 35




      I.     Legal Standard

      The district court has broad discretion to issue a TRO or preliminary

injunction. See, e.g., See Carillon Imp., Ltd. v. Frank Pesce Intern. Grp. Ltd., 112

F.3d 1125, 1126 (11th Cir. 1997) (citation omitted). A party establishes that a TRO

or preliminary injunction is necessary upon a showing that: (1) they are likely to

succeed on the merits; (2) they will suffer irreparable injury unless the relief

requested is issued; (3) the threatened injury outweighs possible harm that issuing

the requested relief may cause to the adverse party; and (4) entry of the emergency

relief would not disserve the public interest. Siegel v. LePore, 234 F.3d 1163, 1176

(11th Cir. 2000); see also Johnson v. U.S. Dep’t of Agriculture, 734 F.2d 774, 781

(11th Cir. 1984).

      II.    Plaintiffs are likely to succeed on the merits.

      The Survey Provisions violate the First Amendment for at least three reasons.

Plaintiffs are highly likely to succeed on each theory, but success on even one would

require invalidation of the Survey Provisions.




whether a preliminary injunction should issue. If the Court does so, Plaintiffs request
that the Court order Defendants to provide Plaintiffs with the discovery they have
repeatedly been requesting related to the surveys—or, at the very least, the final
surveys that are to be distributed—and permit Plaintiffs sufficient time to evaluate
those materials and offer additional evidence in support (including potentially expert
testimony on the final surveys).

                                          11
    Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 12 of 35




             A.    The Survey Provisions constitute unconstitutional content-
                   based viewpoint discrimination.

      The Constitution bars the government from regulating speech “because of

agreement or disagreement with the message it conveys.” Turner Broad. Sys., Inc.

v. FCC, 512 U.S. 622, 642 (1994) (cleaned up). “As a general rule, laws that by their

terms distinguish favored speech from disfavored speech on the basis of the ideas or

views expressed” are content-based regulations. Id. at 643. Content-based laws are

subject to strict scrutiny, “which requires the Government to prove that the

restriction furthers a compelling interest and is narrowly tailored to achieve that

interest.” Reed v. Town of Gilbert, 576 U.S. 155, 164, 171 (2015).

      When a law is challenged as content based, a court first “consider[s] whether

[the law] ‘on its face’ draws distinctions based on the message a speaker conveys.”

Id. at 156. Even a facially content-neutral law is unconstitutionally content-based if

it (1) “cannot be justified without reference to the content of the regulated speech,”

or (2) was “adopted by the government because of disagreement with the message

[the speech] conveys.” Id. at 164 (quotation marks omitted). Courts may determine

a law’s “content-based” aim from “the record and . . . formal legislative findings.”

Sorrell v. IMS Health Inc., 564 U.S. 552, 564 (2011); see also Harbourside Place,

LLC v. Town of Jupiter, 958 F.3d 1308, 1317 (11th Cir. 2020) (“We may also

consider whether the regulation was enacted due to an impermissible motive.”).



                                         12
    Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 13 of 35




      Plaintiffs are likely to succeed on their claim that the Survey Provisions

constitute invalid content-based viewpoint discrimination, because they were

adopted due to the government’s disagreement with a certain message—e.g., left-

leaning speech within post-secondary institutions and the “threat” that left-leaning

faculty are “indoctrinating” students. See Ex. 1 at 93, 94, 95, 548. Indeed, as

materials produced by FSU demonstrate, the survey drafters were instructed that the

purpose of the Survey was to address “increasing concerns that university

instructors, who are, on average, very liberal, instill and perhaps require their

student to provide a particular political viewpoint.” Ex. 1 at 203. And the legislative

and contemporaneous public record is littered with evidence that HB 233 is an

“ideologically driven attempt[] to suppress a particular point of view.” Rosenberger

v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 830 (1995). For example,

Governor DeSantis and Commissioner Corcoran have made plain that the law is

intended to be a tool in their ongoing “war” against the “radical left,” helping to

identify campuses that embrace progressive views for retribution, including

potentially budget cuts. See Ex. 1 at 93, 94.

      Although either renders the Survey Provisions unconstitutional, Plaintiffs are

likely to prove that they are content based under both the justification and purpose

tests. Notably, a content-based purpose invalidates a law regardless of how or even

whether the State actually uses it to suppress the speech it disfavors. The mere


                                          13
     Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 14 of 35




“possibility that the [government] is seeking to handicap the expression of particular

ideas . . . . would alone be enough to render the [law] presumptively invalid.” R.A.V.

v. City of St. Paul, 505 U.S. 377, 394 (1992) (emphasis added). But, in this case, the

evidence, including the “comments and concessions” made by HB 233’s sponsors,

proponents, and enforcers “elevate the possibility to a certainty,” id.

      “Given the legislature’s” and others’ “expressed statement of purpose, it is

apparent that [the challenged statute] imposes burdens that are based on the content

of speech and . . . aimed at a particular viewpoint.” Sorrell, 564 U.S. at 565. HB 233

was enacted to “burden[] a form of protected expression that it found too persuasive”

on its public campuses and will leave “unburdened those speakers whose messages

are in accord with its own views.” Id. at 580. The bill’s sponsors were explicit: Rep.

Sabatini described the Survey as a tool for “defunding the radical institutions” on

campuses that “we’ve lost . . . to the radical left” and “defunding these insane

professors that hate conservatives and hate this country.” Ex. 1 at 548.

      In addition, as the directions to the Survey drafters further evidence, see Ex.

1 at 203, the law “cannot be justified without reference to the content of the regulated

speech.” Reed, 576 U.S. at 164 (citation and quotation marks omitted). Comments

in drafts of the Surveys that FSU produced also bear this out. Draft questions are

repeatedly critiqued for their political slant by reviewers, who observe, for example,

that draft questions “read as a political tool rather than a legitimate effort to improve


                                           14
     Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 15 of 35




the SUS system.” Ex. 1 at 218. Another notes: “If the goal of the survey is to grind

a political axe, it will likely be a success on this front.” Id. at 220. In other words,

the law’s clear intention is unavoidable even in its discussion and application.

       Even if the Survey Provisions were not per se unconstitutional in light of the

above, they fail strict scrutiny, which requires “the government prove[] that [the

statute is] narrowly tailored to serve compelling state interests.” Reed, 576 U.S. at

163. That the Survey Provisions cannot survive strict scrutiny is obvious from their

context and their face. Their purpose is to address a perceived problem with liberal

indoctrination of students, about which the Legislature admittedly had no

evidence—much less a “strong basis in evidence.” Shaw v. Hunt, 517 U.S. 899, 908

n.4 (1996) (finding a “compelling interest” must have been “the legislature’s ‘actual

purpose’” and legislature must have had “a strong basis in evidence”); see also infra

at II.B.

       But even if the Legislature had a compelling reason to enact the Survey

Provisions (and none is evidenced by the record), they necessarily fail narrow

tailoring—i.e., the Provisions must actually “advance” the compelling state interest,

and they must do it “by the least restrictive means available.” Bernal v. Fainter, 467

U.S. 216, 219 (1984); see also Reno v. ACLU, 521 U.S. 844, 846 (1997) (finding a

“burden on . . . speech unacceptable if less restrictive alternatives would be at least

as effective in achieving the [law’s] legitimate purpose”). The Provisions fail this


                                          15
     Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 16 of 35




requirement (1) for all of the reasons they fail the “substantial relation” test, infra at

II.B, and (2) because there are less-burdensome alternatives available to assess the

Legislature’s purported concerns. See Arkansas Writers’ Project, Inc. v. Ragland,

481 U.S. 221, 231-232 (1987). They include routine student evaluations, which

produce responses that are in context, and far better suited to make any kind of

meaningful assessment of these issues. See, e.g., Ex. 4 at ¶¶ 9, 16; Ex. 3 at ¶¶ 4-5,

7. In addition, for myriad reasons, the Survey Provisions are fundamentally flawed

vehicles to answer any question—much less the questions the Legislature claims to

want answered. See Ex. 4 at ¶¶ 7-10. In other words, as conceived and constructed,

the Survey Provisions do not even actually advance the state’s purported interests,

much less by the means least likely to burden speech.

      For each of these reasons, Plaintiffs are highly likely to succeed on their

content-based First Amendment challenge to the Survey Provisions.

                    B.     The Survey Provisions impermissibly authorize
                           government inquiry into Plaintiffs’ beliefs and political
                           associations.

      Separately, “[w]hen a State seeks to inquire about an individual’s beliefs and

associations” it has a “heavy burden” to justify that inquiry under the First

Amendment. Baird, 401 U.S. at 6-7. Laws that implicate associational rights are

subject to (at least) exacting scrutiny. Americans for Prosperity Found. v. Bonta,

141 S. Ct. 2373, 2383 (2021). They are unconstitutional unless Defendants


                                           16
     Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 17 of 35




demonstrate that there is “a substantial relation between the disclosure requirement

and a sufficiently important governmental interest.” Id. The Survey Provisions fail

both prongs.

       The Survey Provisions do not advance an “important government interest.”

Id. As the record demonstrates, the interest that motivated them is a fundamentally

illegitimate interest in suppressing liberal and progressive associations and speech.

It is also based on a demonstrably false premise: for decades right-wing actors have

alleged that students are being indoctrinated with liberal viewpoints, but empirical

studies refute it. See, e.g., Stanley Rothman et al., THE STILL DIVIDED ACADEMY at

77-78 (2011) (noting over four years college students become slightly more socially

liberal and slightly more economically conservative but “in most of the policy areas,

students’ aggregate attitudes do not appear to vary much between their first and final

years”); Ex. 1 at 507 (published peer-reviewed study concluding, “[w]e find little

evidence . . . that faculty ideology is associated with changes in students’ ideological

orientation”); Ex. 1 at 519 (peer-reviewed study concluding “[s]elf-reported

ideology does drift left at liberal arts colleges, but this is explained by a peer effect”).

       Defendants may yet insist HB 233 furthers a “legitimate interest in gauging

the intellectual freedom and viewpoint diversity.” See ECF No. 40 at 24. This

assertion is belied by comments of legislators and the Governor, as discussed, and

by the statements of the drafters of the Survey themselves. Draft questions are


                                            17
     Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 18 of 35




repeatedly derided by commentors to the drafts, including in notations that:

      • A draft of the student survey was “problematic” and should be “completely
        revamped so that it is a legitimate and useful tool, not to mention a good
        use of taxpayer money.” Ex. 1 at 219.

      • “The Terminology [sic] used is overly political and will likely prime
        political responses.” Id. at 218.

      • That questions were “political question[s], not . . . survey question[s].” Id.
        at 218-219.

      • That questions were “confusing,” unclear, vague, or “not a useful
        question.” Id. at 219.

      • That an entire section was “baffl[ing]” Id. at 220.

      • That questions served no purpose “beyond probing the relative
        conservativeness or progressiveness [sic] of a student.” Id. at 221.

      • “The survey lacks specificity in ways that are confusing and make the
        survey read as a political tool rather than a legitimate effort to improve the
        SUS system.” Id. at 218.

      • “If the goal of the survey is to grind a political axe, it will likely be a
        success on this front.” Id. at 220.

That the drafters were having so much trouble writing questions that were even

passably legitimate is understandable—that is the task that they were given. There

is no plausible basis for concluding that the Legislature intended that the Survey be

anything other than a “political tool” “to grind a political axe.”

      Even HB 233’s proponents admitted having no basis to investigate

“intellectual freedom” or “viewpoint diversity.” Representative Roach admitted


                                          18
     Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 19 of 35




there was no evidence of a lack of intellectual freedom or viewpoint diversity at

Florida’s colleges. Ex. 1 at 458 (17:5-23) (stating he was “not alleging that” Florida

universities are “falling far short of that ideal expression and commitment to the First

Amendment”). Nor was he certain the Survey would provide meaningful insight. He

acknowledged it would likely suffer from self-selection bias, id. at 459 (37:3-9)

(admitting the “people that are most inclined to fill out a survey of this type are

someone who feels like they’re aggrieved or the super-politically active groups on

campus”), and that the response rate might be so low the entire survey would be

illegitimate. Id. (37:18-23) (“I would suspect if you had only 10 percent of a student

body fill out the survey, and that percent of students did not represent a cross section

of that university, it probably would not be statistically valid and would be subject

to challenge.”).6

      Even taking the State’s claimed interest in “viewpoint diversity” at face value,

without more, “viewpoint diversity” is an empty concept, capable of encompassing

every viewpoint, even ones completely debunked. The Survey has no means by

which to distinguish between, e.g., legitimate different views on string theory, from

views of Holocaust deniers. Pursuing such “diversity” as its own end is incompatible



6
 Notably, the survey conducted at UNC Chapel Hill, which Rep. Roach referenced
as inspiration, had a response rate of 3.09 percent among students who were not
provided a financial incentive to participate. Ex. 1 at 126.

                                          19
     Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 20 of 35




with the purpose of higher education. See, e.g., Ex. 1 at 534 (“[S]ome ideas don’t

deserve a hearing, and one of the primary roles of the university is to distinguish

between those that do—and should continue to be explored and built upon—and

those that should not be seriously entertained by any legitimate institution of higher

education.”); Ex. 4 at ¶ 15; Ex. 3 at ¶ 8.

      As a result, even if intended to foster intellectual diversity, HB 233 would

remain invalid because “[t]here is a dramatic mismatch . . . between the interest”

Defendants assert and the law Florida created “in service of that end.” Bonta, 141 S.

Ct. at 2386. By imposing a Survey to capture political affiliation and viewpoints with

a clear interest in stamping out liberal and progressive beliefs, HB 233 will achieve

precisely the opposite end. See generally Shelton v. Tucker, 364 U.S. 479, 486

(1960) (noting “constant and heavy” pressure that would fall on teachers “to avoid

any ties which might displease those who control [their] professional destiny”); see

also Bonta, 141 S. Ct. at 2388.

                    C.     The Survey Provisions unconstitutionally threaten
                           reprisal for protected First Amendment activity.

      For similar reasons, Plaintiffs are likely to prove the Survey violates the First

Amendment because it subjects protected activity to retributive harm from the

government as well as invites public harassment. See, e.g., Am. Compl., ECF No.

35 ¶¶ 63-80, 134, 137, 156. Indeed, the Survey Provisions appear designed to create



                                             20
     Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 21 of 35




“evidence” for the baseless, dangerous narrative that faculty are indoctrinating

students with “radical leftist” ideas. Ex. 1 at 93, 94, 95, 548. This threat is itself a

First Amendment harm. See Bonta, 141 S. Ct. at 2388.

      Government reprisal is not a speculative risk. HB 233’s co-sponsor,

Representative Sabatini described HB 233 as a tool for “defunding the radical

institutions” on campuses that “we’ve lost . . . to the radical left” and “defunding

these insane professors that hate conservatives and hate this country.” Ex. 1 at 548,

and the Survey Provisions have no safeguards against this type of use. Such

“ideologically driven attempts to suppress a particular point of view” by cutting or

withholding funding “are presumptively unconstitutional.” Rosenberger, 515 U.S.

at 830 (quotations omitted).

      These risks persist even if the Survey is administered anonymously: it will

necessarily collect information related to Plaintiffs’ private affiliations and – even if

Plaintiffs refuse to take part – imposes a severe “risk of reprisal” for whatever it is

the government (or others) claim to glean from the results of the Survey, “creat[ing]

an unnecessary risk of chilling’ in violation of the First Amendment.” Bonta, 141 S.

Ct. at 2388 (quotations and citation omitted). Already, Governor DeSantis and

Commissioner Corcoran have practically promised retaliation against Plaintiffs’

speech. See, e.g., Ex. 1 at 93-95; cf. Susan B. Anthony List v. Driehaus, 573 U.S.

149, 165-66 (2014) (threat of even false complaints can give rise to an injury).


                                           21
    Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 22 of 35




      Allowing the Survey to be administered, and data collected, is also likely to

invite harassment of Plaintiffs—an increasingly serious problem in a country where

“indoctrination” claims like the Governor’s fuel attacks on academics who are

viewed to be too liberal. See Ex. 1 at 237 (published peer-reviewed study discussing

targeted harassment campaigns against professors based on left-of-center views); see

also Ex. 1 at 420 (published peer-reviewed paper collecting examples of right-wing

harassment of left-leaning professors). This, too, constitutes a serious risk of harm

to First Amendment rights. Bonta, 141 S. Ct. at 2388 (“Such risks [of harassment]

are heightened in the 21st century and seem to grow with each passing year, as

‘anyone with access to a computer [can] compile a wealth of information about’

anyone else . . . .” (quoting Doe v. Reed, 561 U.S. 186, 208 (2010) (Alito, J.,

concurring)); see also Ex. 2 at ¶ 9.7

      Plaintiffs face an impossible choice. Defendants will say the Survey is

voluntary, but if Plaintiffs choose not to respond, they risk the results being skewed

by those who have repeatedly sowed this same false narrative. See Ex. 2 at ¶ 11; Ex.

3 at ¶ 9. Plaintiffs may feel compelled to participate to attempt to protect against

Defendants creating fodder for their ongoing “war” against the “radical left,” a war


7
  Although Plaintiffs submit substantial evidence of this risk, they need not show
that they or their members will be “subjected to harassment and reprisals” unless
“the challenged regime is narrowly tailored to an important government interest.”
Bonta, 141 S. Ct. at 2389. Defendants cannot make this showing.

                                         22
    Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 23 of 35




that is increasingly resulting in professors being doxxed, harassed, and even fired.

Ex. 1 at 251-256 (discussing harassment of professors for political views); Ralph

Wilson & Isaac Kamola, FREE SPEECH           AND   KOCH MONEY: MANUFACTURING            A

CAMPUS CULTURE WAR 126 (Pluto Press 2021) (discussing “junk science” survey

used by right wing media to portray university students as hostile to freedom of

speech).

      Inaccurate, deeply flawed surveys are routine fodder for far-right activists

pushing the narrative that higher education is hostile to conservatives. In 2017,

Professor John Villasenor of UCLA published the results of an “opinion poll” he

conducted that he claimed evaluated the state of free speech on university campuses.

He claimed to find that a “surprisingly large fraction of students believe it is

acceptable to act—including resorting to violence—to shut down expression they

consider offensive,” Ex. 1 at 463; Wilson & Kamola, supra at 126. Though polling

experts denounced Villasenor’s methodology and declared his survey “junk

science,” Ex. 1 at 470, right wing media outlets latched on to it to promote their

preferred narrative of higher education. Wilson & Kamola, supra at 126. See also

Michael Berube, WHAT’S LIBERAL ABOUT               THE    LIBERAL ARTS? CLASSROOM

POLITICS   AND   “BIAS”   IN   HIGHER EDUCATION 67-69 (2006). The same will likely

happen     here,   even—perhaps        especially—if     the   results   are   unreliable,

unrepresentative, or incoherent.


                                            23
       Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 24 of 35




III.    Plaintiffs will suffer irreparable harm absent emergency relief.
        Absent relief, Plaintiffs will suffer irreparable harm to their First Amendment

rights. Time is of the essence. The record evidences a substantial threat that any data

obtained from the Survey will be used to justify retaliation against the institutions

where Plaintiffs teach and study, and carries significant risk that Plaintiffs will be

irreparably injured in a host of other ways.

        Many of these risks will follow regardless of the Survey’s final design; given

the Survey’s illegitimate purpose and clear political aims, its resulting “data” is

virtually guaranteed to be invalid, making any “conclusions” or decisions made

based on it presumptively unreliable. See, e.g., Ex. 4 at ¶¶ 7-16; Ex. 3 at ¶ 7; Ex. 2

at ¶ 5. But the draft Surveys produced by Defendants (as of November 2021) and

FSU (more recently) raise additional and significant concerns. See, e.g., Ex. 4 at ¶¶

10-13; Ex. 3 at ¶¶ 8-11; Ex. 2 at ¶¶ 6-8, 11-12. Permitting Defendants to proceed

without allowing Plaintiffs the opportunity to make the case that the Surveys as

designed are further flawed, exacerbates the risk of harm they already face.

        Irreparable harm arises where “adequate compensatory or other corrective

relief will [not] be available at a later date, in the ordinary course of

litigation.” Sampson v. Murray, 415 U.S. 61, 90 (1974) (quoting Va. Petroleum

Jobbers Ass’n v. FPC, 259 F.2d 921, 925 (D.C. Cir. 1958)). “The loss of First

Amendment freedoms, for even minimal periods of time, unquestionably constitutes


                                          24
     Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 25 of 35




irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976); Roman Catholic

Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 67 (2020) (same). Defendants’

violation of Plaintiffs’ First Amendment rights therefore “constitute[s] per se

irreparable injury.” Cate v. Oldham, 707 F.2d 1176, 1188 (11th Cir. 1983) (quoting

Johnson v. Bergland, 586 F.2d 992, 995 (4th Cir. 1978)); see also FF Cosmetics FL,

Inc. v. City of Miami Beach, 866 F.3d 1290, 1298 (11th Cir. 2017) (“[A]n ongoing

violation of the First Amendment constitutes an irreparable injury.”). As Plaintiffs’

supporting declarations and verified interrogatory responses show, this harm

impacts Plaintiffs in tangible ways—classroom discussion will be chilled; student

activism discouraged; and the teaching of important, but sensitive, subjects

irreparably hampered.

      Courses Dr. Goodman teaches at FSU, for example, address sensitive

subjects. See Ex. 3 at ¶ 3. Her role as a professor requires her to voice many different

divergent viewpoints on controversial topics, without necessarily endorsing those

views. Id. ¶ 4. She never has and never would consider a student’s political views,

or how those views might diverge from her own, in grading, assessing, or interacting

with students. Id. Nonetheless, in evaluations, some have expressed that Dr.

Goodman’s teaching on these sensitive topics reflects certain political views. Id. ¶¶

4-5. Such evaluations are an appropriate vehicle for considering such concerns in

proper context. Id. In contrast, asking highly generalized Survey questions about


                                          25
     Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 26 of 35




personal perceptions in a format that takes those perceptions entirely out of context

makes it impossible to evaluate them in any meaningful way. Id. at ¶¶ 5, 7-8; see

also Ex. 4 at ¶¶ 10, 13, 15, 16 (noting importance in achieving valid and meaningful

survey results accounting for student’s particular sensitivities and the crucial role

learning to become comfortable with difficult topics plays in higher education). Yet,

those out of context statements could lead to cuts in funding. Ex. 3 at ¶¶ 7, 9. Dr.

Goodman fears the Survey will further stifle her classroom speech, particularly on

controversial topics. Id. ¶ 8.

      That injury is made worse by confusing and contradictory directions about

what speech is permitted, required, or risks retribution. Ex. 3 at ¶ 11. A separate

provision of HB 233 bars faculty from “shielding” students from speech that makes

them uncomfortable. Id. But, drafts of the Survey would invite students to report

instances when instructors make them uncomfortable. Id. At the same time, the

Legislature has taken aim at teaching anything it deems “critical race theory,”

apparently on the basis that it makes some students uncomfortable. Id. Faculty are

thus placed in an impossible position: refusing to teach uncomfortable subject-matter

exposes them to HB 233’s Anti-Shielding Provisions but choosing to teach the same

material invites negative survey responses. Id. This nonsensical legal landscape

means that Dr. Goodman and many other Florida faculty members “risk breaking a

law whichever way [they] turn,” id., chilling their ability to engage in a free flow of


                                          26
    Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 27 of 35




ideas with students and colleagues.

      The other faculty-member Plaintiffs also teach and study important,

politically-sensitive topics and are similarly threatened with irreparable injury.

University of Central Florida processor Barry Edwards teaches courses on civil

rights and firearm regulation. See Ex. 1 at 5-7. Teaching these topics requires

creating a space where students can engage openly, comfortably, and candidly on

important contemporary political topics. See Ex. 4 at ¶ 13. But Professor Edwards

fears that HB 233, and the Surveys it mandates, will impede or prohibit his teaching

of these subjects. See Ex. 1 at 20-21. Similarly, Dr. David Price of Santa Fe College

teaches courses that often discuss viewpoints that Defendants strongly disfavor, such

as historical scholarship contending that the Second Amendment was enacted to

empower slave patrols. See Ex. 1 at 478-480. Dr. Price believes that HB 233 is

intended to chill and punish speech like that regularly heard in his classroom. See

id.; see also Ex. 1 at 295-297 (Prof. Jack Fiorito expressing concern that “HB 233

targets the teaching, research into, and academic expression and exploration” of

Plaintiff’s views); Ex. 1 at 342-345 (similar for Prof. William Link).

      Even the American Educational Research Association (“AERA”), a century-

old organization that researches education policy, has concluded that HB 233 has

already “cast a pall over higher education [in Florida].” Ex. 1 at 549. For example,

in “one Florida public institution barring faculty from testifying in voting rights and


                                          27
     Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 28 of 35




mask-mandated court cases and pressuring faculty to remove race-related language

from course materials and destroy COVID-19 data.” Id.

      Dissemination of the Surveys will also discourage protected speech by

students. Julie Adams, a sophomore at FSU who uses they/them pronouns, speaks

and organizes on issues including climate change, reproductive health, and firearm

regulation. See Ex. 1 at 360-362. Adams fears that completing the Survey will

require them to disclose their political affiliations, and will ultimately to be used to

cut funding from schools like FSU, making them hesitant to be as vocal about their

views. See id. at 368-371, 376-377. Blake Simpson, a senior at Florida A&M

University, is likewise concerned that HB 233 targets and chills progressive speech

about social justice, civil rights, and police brutality—issues around which he

frequently organizes his fellow students. See Ex. 1 at 389-390.

      It does not matter whether the Survey is anonymous or voluntary, if the data

is kept secure and protected, or if Defendants insist the data will only be released or

reported or analyzed in aggregate form. See, e.g., Bonta, 141 S. Ct. at 2388 (“Our

cases have said that disclosure requirements can chill association ‘even if there is no

disclosure to the general public.’ . . . While assurances of confidentiality may reduce

the burden of disclosure to the State, they do not eliminate it.”) (cleaned up) (quoting

Shelton, 364 U.S. at 486). The concern of disclosure to the State alone is particularly

threatening here, where the Governor and Legislature acted with intent to suppress


                                          28
     Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 29 of 35




views with which they disagree.

         But there is also the risk of third-party access to the information. HB 233 does

not exempt the Survey or its results from the state’s “Sunshine Law,” which allows

access to governmental proceedings and documents. See Fla. Stat. § 119.011(12)

(providing general rule that “all documents . . . made or received pursuant to law”

are public records); Nat’l Collegiate Athletic Ass’n v. Associated Press, 18 So. 3d

1201, 1207 (Fla. 1st DCA 2009), review denied, 37 So. 3d 848 (Fla. 2010) (records

received by a State University generally considered public records); cf. Fla. Stat.

§ 1012.91 (exempting university personnel records from public disclosure except for

student assessments contained in “the State University System Student Assessment

of Instruction or comparable instrument”) (emphasis added). As a result, virtually

anyone could obtain Survey data and use it for any purpose—including the

fabrication of “evidence” of “bias” in education or to harass faculty, as discussed

infra.

         In addition, the draft Surveys produced thus far seek demographic information

that could lead to the easy identification of certain responding faculty members. See

Ex. 2 at ¶ 7. They include questions about data as “sex or gender,” “sexual

orientation,” “religious affiliation,” and the nature of each member’s “faculty

appointment” and whether they are “tenured.” Id. Identities of many faculty

members—particularly non-white and LGBTQ+ faculty—could readily be


                                            29
     Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 30 of 35




discerned from answers to such questions when cross-checked against faculties at

individual schools. Id. This significantly exacerbates the risk of harassment,

particularly for non-white or LGBTQ+ faculty, imposing further risk of severe,

irreparable injury. E.g., Bonta, 141 S. Ct. at 2388.

      Moreover, Defendants are required to report Survey “results” in September,

which Florida’s leaders have made plain they intend to use to punish or suppress

disfavored viewpoints. At the very least, the junk science that Defendants peddle

with these Surveys threatens to further fuel a false narrative that has put academic

freedom and Plaintiffs’ free speech and associational rights under direct and severe

attack. To accomplish those harms, Defendants need only campus-wide statistics.

      Indeed, permitting Defendants to collect Survey data poses an additional

irreparable harm to Plaintiffs, namely that any collected data—regardless of its

incompleteness or unreliability—will swiftly be used to support policies that harm

Plaintiffs and their institutions, including cutting their funding. See, e.g., Ex. 2 at ¶

5, 10; Ex. 3 at ¶¶ 7-9. Significant harm will be done by the mere collection of “data,”

which may later be misused by those seeking to use it as a cudgel against Plaintiffs.

The Court must act now to prevent this irreparable harm.

      IV.    Defendants will not suffer any harm from the requested relief.

      Defendants will suffer no harm if the Surveys are temporarily enjoined while

litigation progresses. First, defense counsel claimed even a few days ago that the


                                           30
    Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 31 of 35




Surveys were not yet final. Even then, he communicated that the April 4 deadline

for dissemination of the Surveys “was not set in stone.” Ex. 1 at 11. There is no

reason why Defendants need to implement the Surveys nine days from now, nor any

justification to permit doing so without allowing Plaintiffs the opportunity to review

the final Surveys and present further evidence to this Court, if warranted, to support

preliminary injunctive relief.

      The only deadline pertinent is that the Surveys’ results must be reported by

September 2022. See Fla. Stat. §§ 1001.03(19)(b), 1001.706(13)(b). Defendants do

not need five months to distribute the Survey and aggregate the results.

      This is precisely the type of case warranting temporary relief “to protect the

movant from irreparable injury and to preserve the status quo until the district court

renders a meaningful decision on the merits.” Butler v. Alabama Jud. Inquiry

Comm’n, 111 F. Supp. 2d 1224, 1229 (M.D. Ala. 2000) (citing Canal Auth. of State

of Fla. v. Callaway, 489 F.2d 567, 572 (5th Cir.1974); accord Ne. Fla. Chapter of

Ass’n of Gen. Contractors of Am. v. City of Jacksonville, 896 F.2d 1283, 1284 (11th

Cir. 1990). Apparently to stymie review, Defendants have been withholding the final

Survey at the heart of this case, and plan to rush its implementation before this Court

can consider its constitutionality. They will not be injured by an order requiring them

to allow this litigation to proceed in normal course.




                                          31
     Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 32 of 35




      V.     The public interest favors the requested relief.

      “[I]t is always in the public interest to protect First Amendment liberties.” KH

Outdoor, LLC v. City of Trussville, 458 F.3d 1261, 1272 (11th Cir. 2006) (quoting

Joelner v. Vill. of Washington Park, 378 F.3d 613, 620 (7th Cir. 2004)). Defendants’

plan to circulate the Survey as soon as April 4 is an imminent attack on First

Amendment freedoms at Florida’s public institutions of higher learning; the public

interest is best served by allowing this Court to consider the constitutionality of that

activity before faculty and students are asked to take part in the Survey. See Barrett

v. Walker Cty. Sch. Dist., 872 F.3d 1209, 1230 (11th Cir. 2017)

(“[T]he public interest is always served in promoting First Amendment values.”)

(quoting SunTrust Bank v. Houghton Mifflin Co., 268 F.3d 1257, 1276 (11th Cir.

2001)). Defendants cannot point to any countervailing public interest in distributing

the Survey in nine days because the “vindication of constitutional rights . . . serve[s]

the public interest almost by definition.” League of Women Voters of Fla. v.

Browning, 863 F. Supp. 2d 1155, 1167 (N.D. Fla. 2012).

      The gross disparity in harms reflects the public’s interest in emergency relief

here. Whereas Plaintiffs face the imminent and irreparable First Amendment harms,

Defendants face no harm from the requested relief because “it is clear that neither

the government nor the public has any legitimate interest in enforcing an

unconstitutional ordinance.” Otto v. City of Boca Raton, 981 F.3d 854, 870 (11th


                                          32
     Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 33 of 35




Cir. 2020). Even if Defendants faced any prospect of harm from Plaintiffs’ requested

relief, a threatened First Amendment injury “outweighs whatever damage the

injunction may cause the State.” Net Choice, LLC v. Moody, 546 F. Supp. 3d 1082,

1095 (N.D. Fla. 2021) (noting when “a plaintiff is likely to prevail on the merits of

a First Amendment claim, the[] other prerequisites to a preliminary injunction are

usually met”). The public interest factor, as with each other factor, therefore strongly

supports Plaintiffs’ requested relief.

                                   CONCLUSION

      For the reasons stated, the Court should grant Plaintiffs’ motion.

      WHEREFORE, Plaintiffs respectfully request that this Court enter a

temporary restraining order restraining, or, in the alternative, a preliminary

injunction enjoining Defendants, their officers, employees, and agents, all persons

acting in active concert or participation with Defendants, or under Defendants’

supervision, direction, or control, and all other persons within the scope of Federal

Rule of Civil Procedure 65, from: (1) distributing the Surveys required by Fla. Stat.

§§ 1001.03(19)(b) and 1001.706(13)(b) to faculty, staff, or students; (2) collecting

or storing any responses to the Surveys; (3) reporting, releasing, or making public

any data received from responses to the Surveys; and (4) taking any action based on

data received from responses to the Surveys.




                                          33
    Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 34 of 35




                   LOCAL RULE 7.1(B) CERTIFICATION

      Plaintiffs’ counsel notified Defendants’ counsel yesterday afternoon of

Plaintiffs’ intent to seek the requested injunctive relief on an emergency basis, and

Plaintiffs’ counsel requested Defendants’ position. While Defendants’ counsel

responded yesterday evening preliminarily, Defendants’ counsel has not confirmed

whether Defendants oppose the requested relief. Defendants will presumably

oppose the relief requested in this Motion.

                    LOCAL RULE 7.1(F) CERTIFICATION

      The undersigned, Frederick Wermuth, certifies that this motion contains 7964

words, excluding the case style and certifications.

Respectfully submitted this 26th day of March, 2022.

                                         /s/ Frederick S. Wermuth
                                         Frederick S. Wermuth
                                         Florida Bar No.
                                         Thomas A. Zehnder
                                         Florida Bar No. 0063274
                                         Robyn M. Kramer
                                         Florida Bar No. 0118300
                                         King, Blackwell, Zehnder
                                           & Wermuth, P.A.
                                         P.O. Box 1631
                                         Orlando, FL 32802-1631
                                         Telephone: (407) 422-2472
                                         Facsimile: (407) 648-0161
                                         fwermuth@kbzwlaw.com
                                         tzehnder@kbzwlaw.com
                                         rkramer@kbzwlaw.com



                                         34
     Case 4:21-cv-00271-MW-MAF Document 75 Filed 03/26/22 Page 35 of 35




                                        Marc E. Elias
                                        Elisabeth C. Frost*
                                        Alexi M. Velez*
                                        Noah Baron*
                                        ELIAS LAW GROUP LLP
                                        10 G Street NE, Suite 600
                                        Washington, D.C. 20002
                                        Telephone: (202) 968-4490
                                        melias@elias.law
                                        efrost@elias.law
                                        avelez@elias.law
                                        nbaron@elias.law

                                        *Admitted Pro Hac Vice

                                        Counsel for Plaintiffs

                          CERTIFICATE OF SERVICE

      I hereby certify that on March 26, 2022 I filed a copy of the foregoing with

the Clerk of the Court using the CM/ECF system, which will send notification of

such filing to all counsel of record.

                                        /s/ Frederick S. Wermuth
                                        Frederick S. Wermuth
                                        Florida Bar No.: 0184111
                                        Counsel for Defendants




                                         35
